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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



SYMBOLOGY INNOVATIONS, LLC,
Plaintiff
v.                                                             3:24-cv-81
                                                               Civil Action No.
DELTA AIR LINES, INC.,
Defendant

        CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

Symbology Innovations, LLC



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

None.




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 Symbology Innovations, LLC; Patent Asset Management, LLC; Garteiser Honea, PLLC
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                                                              Date:                 01/10/2024
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